Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 1 of 19




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,
  vs.

  BRUNELLO CUCINELLI, USA, INC.,
  a foreign for-profit corporation,

        Defendant.
  ___________________________________/

                                            COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant

  BRUNELLO CUCINELLI, USA, INC., a foreign for-profit corporation and alleges as follows:

         1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

  with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

  pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”).




                                                   1
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 2 of 19




         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  As a result of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and only has very limited use of his left hand. Further as a consequence of his disease,

  Plaintiff has developed optic neuritis and is visually disabled, with complete blindness in one eye

  and very limited vision in the other eye. Plaintiff thus is substantially limited in performing one

  or more major life activities, including, but not limited to, seeing and accurately visualizing his

  world and adequately traversing obstacles. As such, he is a member of a protected class under the

  ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR

  §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff further is an advocate of the rights of

  similarly situated disabled persons and is a “tester” for the purposes of asserting his civil rights

  and monitoring, ensuring, and determining whether places of public accommodation and/or their

  respective and associated websites are in compliance with the ADA, the Rehab Act, and any other

  applicable disability laws, regulations, and ordinances.

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent.

  At a rapid pace, the software reads the content of a webpage to the user. “The screen reading

  software uses auditory cues to allow a visually impaired user to effectively use websites. For

  example, when using the visual internet, a seeing user learns that a link may be ‘clicked,’ which

  will bring him to another webpage, through visual cues, such as a change in the color of the text

  (often text is turned from black to blue). When the sighted user's cursor hovers over the link, it

  changes from an arrow symbol to a hand. The screen reading software uses auditory -- rather than



                                                   2
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 3 of 19




  visual -- cues to relay this same information. When a sight impaired individual reaches a link that

  may be ‘clicked on,’ the software reads the link to the user, and after reading the text of the link

  says the word ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the

  visually impaired user can navigate a website by listening and responding with his keyboard.”

  Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21,

  2017).

           7.    Defendant is a foreign for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a chain of retail

  clothing and accessory stores, including one of the stores that Plaintiff intended to patronize in the

  near future located at 216 Worth Avenue, Palm Beach, Florida.

           8.    Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

           9.    Plaintiff frequently accesses the internet.       Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

           10.   At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a chain of retail clothing and accessory stores under the brand name

  “Brunello Cucinelli”. Each Brunello Cucinelli store is open to the public. As the owner and

  operator of these retail stores, Defendant is defined as a place of “public accommodation" within

  meaning of Title III because Defendant is a private entity which owns and/or operates “a bakery,




                                                    3
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 4 of 19




  grocery store, clothing store, hardware store, shopping center, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

            11.   Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA, 42 U.S.C.

  §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

            12.   Defendant also controls, maintains, and/or operates an adjunct website,

  https://shop.brunellocucinelli.com/en-us (the “Website”). One of the functions of the Website is

  to provide the public information on the locations of Defendant’s stores through a “store locator”

  feature. Defendant also sells to the public its merchandise through the Website, which acts as a

  point of sale for Defendant’s merchandise available in, from, and through Defendant’s physical

  stores.

            13.   The Website also services Defendant’s physical stores by providing information on

  its available products, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

            14.   Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

  from the physical stores, arrange in-store and curbside pickups of merchandise purchased online,

  and sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use online and in the physical stores, the Website has a nexus to, and is an extension

  of and gateway to, the goods, services, privileges, and advantages of Defendant’s physical stores,

  which are places of public accommodation under the ADA. As an extension of and service,

  privilege, and advantage provided by a place of public accommodation as defined under the ADA,

  the Website is an extension of the services, privileges, and advantages made available to the



                                                   4
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 5 of 19




  general public by Defendant at and through its brick-and-mortar locations and businesses.

  Furthermore, the Website is a necessary service and privilege of Defendant’s physical stores in

  that, as a point of sale for Defendant’s stores, it enables users of the Website to make online

  purchases of Defendant’s merchandise that is also available for purchas4e from and in its physical

  stores.

            15.   Because the public can view and purchase Defendant’s goods through the Website

  that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in the physical stores, arrange in-store and

  curbside pickups of merchandise purchased online, and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use online and in the physical stores,

  the Website is an extension of and gateway to the physical stores, which are places of public

  accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a

  necessary service, privilege, and advantage of Defendant’s brick and mortar stores that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the same full and equal access to and enjoyment

  of the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical stores.

            16.   At all times material hereto, Defendant was and still is an organization owning,

  operating, and/or controlling the Website. Since the Website is open to the public through the

  internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

  brick and mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with visual disabilities, and must not deny those individuals the same full and

  equal access to and enjoyment of the goods, services, privileges, and advantages as afforded the



                                                     5
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 6 of 19




  non-disabled public both online and in the physical stores. As such, Defendant has subjected itself

  and the Website to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located at 216 Worth Avenue, Palm Beach,

  Florida), and to search for the brick and mortar stores, check store hours and merchandise pricing,

  purchase merchandise, arrange in-store and curbside pickups of merchandise purchased online,

  and sign up for an electronic emailer to receive exclusive offers, benefits, invitations, and discounts

  for use at the Website or in Defendant’s physical stores. In the alternative, Plaintiff intends to

  monitor the Website in the near future, as a tester, to ascertain whether it has been remedied and

  updated to interact properly with screen reader software.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise, arrange in-store

  and curbside pickups of merchandise purchased online, and sign up for an electronic emailer to

  receive exclusive online offers, benefits, invitations, and discounts for use both online and in the

  physical stores from his home are important and necessary accommodations for Plaintiff because

  traveling outside of his home as a visually disabled individual is an often difficult, hazardous,

  frightening, frustrating, and confusing experience. Defendant has not provided its business

  information in any other digital format that is accessible for use by blind and visually impaired

  individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits and compare merchandise, prices, sales, discounts, and promotions. Plaintiff may look

  at several dozens of sites to compare features, discounts, promotions, and prices.




                                                    6
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 7 of 19




         20.     During the month of November 2021, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the merchandise and online offers to educate himself as

  to the merchandise, sales, discounts, and promotions being offered, learn about the brick-and-

  mortar stores, check store hours, and check pricing of merchandise with the intent to making a

  purchase through the Website or in one of the physical stores. Plaintiff, also attempted to access

  and utilize the Website in his capacity as a tester to determine whether it was accessible to blind

  and visually disabled persons, such as himself, who use screen reader software to access and

  navigate company websites.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

         a. Log in button is mislabeled as "personal area" button;

         b. The company telephone number lacks a proper description;

         c. When a certain side product is out of stock, only the "request product link" is labeled;
         the number of the desired size and its status as out of stock is not relayed by the screen
         reader and it lacks a proper description;

         d. Once an item is selected, the item description, details, materials, and price are not
         labeled to integrate with the screen reader;

         e. Once the "find in boutique" button is selected, the product size options are mislabeled
         as "cap S", "cap M", and "cap L";

         f. Inside the shopping cart, product price, and subtotal are not labeled; and

         g. The submenu is inaccessible when navigating solely with a keyboard.




                                                   7
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 8 of 19




         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, and promotions, as provided at the Website and in the

  physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website, but he

  is presently unable to fully do so as he is unable to effectively communicate with Defendant due

  to his severe visual disability and the Website’s access barriers. Alternatively, as a tester using

  screen reader software, Plaintiff is unable to effectively access, navigate, and communicate with

  Defendant through the Website due to his severe blindness and visual disability and the Website’s

  access barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will

  suffer continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and

  practices as set forth herein unless properly enjoined by this Court.

         26.     Because of the nexus between Defendant’s retail stores and the Website, and the

  fact that the Website clearly provides support for and is connected to Defendant’s retail stores for



                                                   8
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 9 of 19




  its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

  brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

  against individuals with disabilities, and must not deny those individuals the same full and equal

  access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-

  visually disabled public both online and in the physical stores, which are places of public

  accommodations subject to the requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.



                                                   9
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 10 of 19




             35.   Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled or blind community.

             36.   The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

             37.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website online from their

   homes.

             38.   Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations provided by and through

   the Website in contravention of the ADA.

             39.   Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff.

             40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action.

             41.   Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.



                                                     10
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 11 of 19




          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities, including Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA as defined within §12181(7)(E) and is subject to the ADA.

          50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s stores,

   purchase merchandise that is also available for purchase from and in the physical stores, arrange

   in-store and curbside pickups of merchandise purchased online, and sign up for an electronic

   emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online



                                                     11
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 12 of 19




   and in the physical stores. The Website thus is an extension of, gateway to, and intangible service,

   privilege, and advantage of Defendant’s physical stores. Further, the Website also serves to

   augment Defendant’s physical stores by providing the public information about the physical stores

   and by educating the public as to Defendant’s available merchandise sold through the Website and

   in the physical stores.

          51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          53.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”




                                                    12
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 13 of 19




             54.   Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

             55.   Because of the inaccessibility of the Website, individuals with disabilities who are

   blind and visually disabled are denied full and equal access to and enjoyment of the goods,

   information, and services that Defendant has made available to the public on its Website and in its

   physical stores in violation of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182,

   et seq.

             56.   The Website was subsequently visited by Plaintiff’s expert in November 2021, and

   the expert determination was that the same access barriers that Plaintiff had initially encountered,

   as well as numerous additional access barriers, existed. Despite being a defendant in several prior

   ADA accessibility lawsuits, which likely resulted in confidential settlement agreements that

   obligated Defendant to fully remediate the Website, Defendant has made insufficient material

   changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

   to, blind and visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed

   to the public any intended audits, changes, or lawsuits to correct the inaccessibility of the Website

   to visually disabled individuals, nor has it posted on the Website an effective “accessibility” notice,

   statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable

   alternative means to access and navigate the Website.          Defendant thus has failed to make

   reasonable modifications in its policies, practices, or procedures when such modifications are

   necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

   “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

   Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and



                                                     13
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 14 of 19




   the contents of which are incorporated herein by reference, continue to render the Website not

   fully accessible to users who are blind and visually disabled, including Plaintiff.

           57.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           58.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           59.     There are readily available, well-established guidelines on the internet for making

   Websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           60.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

   access to the Website by individuals such as Plaintiff with visual disabilities who require the

   assistance of interface with screen reader software to comprehend and access internet websites.

   These violations within the Website are ongoing.

           61.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.

           62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)




                                                    14
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 15 of 19




   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          65.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          66.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website, with a nexus to its brick-and-mortar physical stores, Plaintiff has suffered an

   injury in fact by being denied full access to, enjoyment of, and communication with Defendant’s

   Website and its physical stores.

          67.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:



                                                    15
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 16 of 19




          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with disabilities have full and equal access to and enjoyment

   of the goods, services, facilities, privileges, advantages, and accommodations through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being made readily accessible, provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and becoming informed of and purchasing

   Defendant’s merchandise, and during that time period prior to the Website’s being designed to

   permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website.

          69.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;



                                                   16
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 17 of 19




        B. An Order requiring Defendant, by a date certain, to update the Website, and continue

           to monitor and update the Website on an ongoing basis, to remove barriers in order that

           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;




   1
                    or similar.
                                                17
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 18 of 19




        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to

           ensure the persons with disabilities have full and equal enjoyment of the Website and

           shall accompany the public policy statement with an accessible means of submitting

           accessibility questions and problems;

        K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

        L. Such other and further relief as the Court deems just and equitable.




                                                18
Case 9:22-cv-80245-DMM Document 1 Entered on FLSD Docket 02/15/2022 Page 19 of 19




           DATED: February 15, 2022.


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   By:      s/ Roderick V. Hannah           By:      s/ Pelayo M. Duran
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                                       19
